           Case 1:18-vv-01435-UNJ Document 48 Filed 02/01/21 Page 1 of 7




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1435V
                                          UNPUBLISHED


    STACI BROADWAY,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: November 30, 2020
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Lisa Ann Watts, U.S. Department of Justice, Washington, DC, for Respondent.

                                DECISION ON JOINT STIPULATION1

        On September 20, 2018, Staci Broadway filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine she received to her
right deltoid on October 31, 2017. Petition at 1; Stipulation, filed at November 30, 2020,
¶¶ 4, 6. Petitioner further alleges that her injury has lasted more than six months. Petition
at 2; Stipulation at ¶¶ . “Respondent denies that petitioner sustained a SIRVA Table injury;
denies that the flu vaccine caused petitioner’s alleged SIRVA, or any other injury; and
further denies that petitioner’s current disabilities are sequelae of a vaccine-related
injury.” Stipulation at ¶ 6.

       Nevertheless, on November 30, 2020, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:18-vv-01435-UNJ Document 48 Filed 02/01/21 Page 2 of 7



stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $101,843.62, in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    2
Case 1:18-vv-01435-UNJ Document 48 Filed 02/01/21 Page 3 of 7
Case 1:18-vv-01435-UNJ Document 48 Filed 02/01/21 Page 4 of 7
Case 1:18-vv-01435-UNJ Document 48 Filed 02/01/21 Page 5 of 7
Case 1:18-vv-01435-UNJ Document 48 Filed 02/01/21 Page 6 of 7
Case 1:18-vv-01435-UNJ Document 48 Filed 02/01/21 Page 7 of 7
